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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  ERIC FISHON and ALICIA PEARLMAN,
  individually and on behalf of all others similarly
  situated,                                            Civil Action No. 1:19-cv-11711 (LJL)

                           Plaintiffs,                 NOTICE OF MOTION

                 v.                                    ORAL ARGUMENT REQUESTED

  PELOTON INTERACTIVE, INC.,

                           Defendant.


       PLEASE TAKE NOTICE that upon the annexed Declaration of Megan A. Behrman dated

October 15, 2021, and the accompanying Memorandum of Law, the undersigned hereby moves

this Court on behalf of Defendant Peloton Interactive, Inc., before the Honorable Lewis J. Liman

in Courtroom 15C of the United States District Court for the Southern District of New York, 500

Pearl Street, New York, New York 10007, for an order excluding the reports and testimony of J.

Michael Dennis, Ph.D. and Colin B. Weir pursuant to Federal Rule of Evidence 702 and the

Supreme Court’s decision in Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).
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Dated: October 15, 2021                  Respectfully submitted,
       New York, New York
                                         LATHAM & WATKINS LLP




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